     Case 3:15-cv-01465-CSH Document 104 Filed 02/02/16 Page 1 of 3




UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

NexPoint Advisors, L.P.,

                         Plaintiff,

           - against -
                                                       Civil Action No. 15 Civ. 1465 (CSH)
TICC Capital Corp., Jonathan H. Cohen, Charles
M. Royce, Steven P. Novak, G. Peter O’Brien,
Tonia L. Pankopf, and Saul B. Rosenthal,

                         Defendants.


PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, notice is

hereby given that plaintiff NexPoint Advisors, L.P., by and through its undersigned

attorneys, hereby dismisses all claims in the above-captioned matter against all

defendants without prejudice.
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Dated:      New York, New York
            February 2, 2016


DAVIS POLK & WARDWELL LLP

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                      CERTIFICATE OF ELECTRONIC FILING

       I hereby certify that on February 2, 2016, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice

of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

                                               By:     /s/ Lawrence Portnoy
                                                       Lawrence Portnoy
